USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 1 of 14


                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

ERIC CAMEL, CHAD COMPTON, HEATHER            )
COMPTON, ANTHONY COSLET; AIMEE               )
GILBERT, STEPHEN HIMAN, RUDOLPH              )
JIMENEZ, EVAN JONES, JOSHUA MOHLKE           )
MIGUEL PLAZOLA, STEPHEN SLOAN,               )
BRANDON SMITH, BRADFORD                      )
TYSKIEWICZ, BRENT VALPATIC, STEPHEN          )
WILLIAMS, and CHESTERTON                     )
FIREFIGHTERS LOCAL 4600                      )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )       Case No.:
                                             )
TOWN OF CHESTERTON, INDIANA                  )
     Defendant.                              )

                               COMPLAINT AND JURY DEMAND

        Plaintiffs, ERIC CAMEL, CHAD COMPTON, HEATHER COMPTON, ANTHONY COSLET,

AIMEE GILBERT, STEPHEN HIMAN, RUDOLPH JIMENEZ, EVAN JONES, JOSHUA MOHLKE,

MIGUAL PLAZOLA, STEPHEN SLOAN, BRANDON SMITH, BRADFORD TYSKIEWICZ, BRENT

VALPATIC, STEPHEN WILLIAMS (hereinafter collectively referred to as “Chesterton

Firefighters”) and CHESTERTON FIREFIGHTERS LOCAL 4600 (hereinafter referred to as “the

Union”), by and through counsel, SMITH SERSIC, for their Complaint against Defendant, Town of

Chesterton, Indiana (hereinafter referred to as “Defendant”), herein state as follows:

                                      NATURE OF ACTION

     1. Chesterton Firefighters bring this action to recover unpaid overtime compensation and

        other relief under the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. 201, et.

        seq. (hereinafter sometimes referred to as “the Act”), and/or in violation of I.C. §22-2-2-

        4 and;



                                                 1
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 2 of 14


  2. Chesterton Firefighters and the Union bring their supplemental state law claims as herein

     alleged.

                                JURISDICTION AND VENUE

  3. This Court has jurisdiction over this case pursuant to 29 U.S.C., §201, et. seq.; 29 U.S.C.

     §216; 28 U.S.C. §1331 and 28 U.S.C. §1337.

  4. This Court has jurisdiction over the supplemental state law claims pursuant to 28 U.S.C.

     §1367.

  5. Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) because the Defendant has their

     place of business in this district, the plaintiffs are employed by the Defendant in this

     district, and the actions complained of were conducted within this district.

                                           PARTIES

  6. At all relevant times, Chesterton Firefighters and all other similarly situated, are or were

     “employees” of Defendant within the meaning of Section 203(e) of the Act, 29 U.S.C. §

     203(e).

  7. Chesterton Firefighters bring this action on behalf of themselves and all other employees

     similarly situated pursuant to 29 U.S.C. § 216(b). Copies of the Chesterton Firefighters’

     consent forms are attached hereto and contemporaneously filed herewith as Exhibit 1.

  8. At all relevant times, the Union is a local labor union which represents Chesterton

     Firefighters in matters related to their employment with Defendant including, but not

     limited to, negotiating and entering into yearly agreements by and between the Union

     and Defendant that govern employment of Chesterton Firefighters.

  9. Defendant is a government unit of the State of Indiana, and is located in the geographical

     territory subject to his Court’s jurisdiction and is a “public agency” as that term is defined

     in 29 U.S.C. §203(x).


                                               2
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 3 of 14


  10. Defendant is an “employer” as that term is defined by 29 U.S.C. §203(d) and, as such, is

     subject to the provisions of Section 7 of the Act, 29 U.S.C. § 207.

  11. At all relevant times, Defendant has been an employer within the meaning of the Fair

     Labor Standards Act of 1938, as amended, 29 U.S.C. §201, et. seq. and is subject to the

     provisions of such Act.

  12. At all relevant times, Defendant has been an enterprise engaged in commerce or in the

     production of goods for commerce, and is a public agency engaged in public activities for

     purposes of 29 U.S.C. §203(s).

  13. At all relevant times, Chesterton Firefighters worked hours in excess of the applicable

     overtime threshold under Section 7(k) of the Act and became entitled to receive one and

     one-half times their regular rates of pay for all such excess hours under the Act.

  14. Chesterton Firefighters and the Union bring their supplemental state law causes of action

     as alleged herein.

                                            FACTS

  15. At all times relevant herein, Chesterton Firefighters are held to a twenty-seven (27) day

     work period for purposes of Section 7(k) of the Act.

  16. Pursuant to the Act, Chesterton Firefighters are owed overtime when their hours exceed

     204 hours in the twenty-seven (27) day work period.

  17. From at least 2011 until January 1, 2019, the parties entered into yearly employment

     agreements (hereinafter referred to as the “Former Agreements”). These Former

     Agreements are attached and made a part hereof as Exhibit 2.

  18. In accordance with Section 3 of the Former Agreements, entitled “Vacation Accrual”,

     Chesterton Firefighters received four (4) 24-hour shifts in conjunction with other

     benefits. Exhibit 2.


                                               3
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 4 of 14


  19. At some point prior to 2011, Plaintiffs and Defendant entered into negotiations regarding

     the amount of overtime owed to Chesterton Firefighters in a given work period.

  20. Defendant advised Plaintiffs that Section 3 satisfied the Act with respect to overtime

     owed to Chesterton Firefighters.

  21. Section 3 did not and does not satisfy the Act and Chesterton Firefighters are owed

     compensation for overtime worked.

  22. From at least 2011 until January 2, 2019, Chesterton Firefighters were not provided the

     appropriate compensation for overtime worked.

  23. For the years 2010, 2011, and 2012, the Former Agreements allowed for the four (4) 24-

     hour shifts to be used “the same as vacation days.”

  24. From the years 2013 to the present, the Former Agreements allowed for Chesterton

     Firefighters to use their four (4) 24-hour shifts in accordance with “department policy”.

  25. The department policy, until January 1, 2019, allowed for Chesterton Firefighters to

     utilize their four (4) 24-hour shifts the same as vacation time or “as needed”. This

     department policy is attached and made a part hereof as Exhibit 3.

  26. From at least 2011 until January 2, 2019, the Chesterton Firefighters were provided and

     did use their four (4) 24-hour shifts the same as their vacation time or as needed.

  27. In early 2018, the Plaintiffs were informed that Defendant would no longer be providing

     the Chesterton Firefighters with four (4) 24-hour shifts which had been in place since

     2011.

  28. Plaintiffs requested a meet and confer with Defendant.

  29. Defendant refused to meet and confer with Plaintiffs in good faith on this issue.

  30. Nevertheless, the parties negotiated the terms of the 2019 Agreement.




                                              4
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 5 of 14


  31. Specifically, Defendant agreed to continue to provide Chesterton Firefighters with their

     four (4) 24-hour shifts each year in addition to any other time required in order for

     Defendant to be in compliance with the Act.

  32. Defendant represented to Plaintiffs on multiple occasions that “nothing would change”,

     “everything would remain the same”, and the status quo of the past nearly eight years

     would be maintained in 2019.

  33. During negotiations, Plaintiffs verbalized and memorialized in writing, their concern with

     losing their ability to utilize their four (4) 24-hour shifts the same as vacation or on an as

     needed basis.

  34. Plaintiffs specifically requested that the department policy referenced in Article VIII,

     Section 3(d) of the 2019 Agreement be attached to the Agreement as an appendix item

     for fear that Defendant would enter into the 2019 Agreement and then suddenly change

     the department policy to Plaintiffs’ detriment.

  35. Defendant refused to include the department policy as an appendix item to the 2019

     Agreement and reassured Plaintiffs repeatedly that everything would remain the same,

     including the department policy and Plaintiffs’ usage of the four (4) 24-hour shifts as

     vacation time or as needed.

  36. Given the above representations, the parties entered into the 2019 Agreement on

     December 26, 2018. This Agreement is attached and made a part hereof as Exhibit 4.

  37. The department policy in effect on the date of signing the 2019 Agreement allowed for

     the Chesterton Firefighters to utilize their four (4) 24-hour shifts the same as vacation

     time or as needed. See Exhibit 3.




                                               5
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 6 of 14


  38. On January 2, 2019, one day after the 2019 Agreement became affective, Defendant

     changed the department policy to Plaintiffs’ detriment. The January 2, 2019 department

     policy is attached and made a part hereof as Exhibit 5.

                                         COUNT I:
                                 Fair Labor Standards Act

  39. The foregoing paragraphs one through thirty-eight are included as though fully set forth

     herein.

  40. Pursuant to 29 U.S.C. §219(b), Chesterton Firefighters bring this action, as they earned,

     but did not receive compensation for time worked, including overtime pay from

     Defendant.

  41. Defendant has improperly failed to compensate Chesterton Firefighters for all the time

     they were at work discharging their work-related duties.

  42. The Fair Labor Standards Act requires an employer to pay its employees at a rate of at

     least one and one-half their regular rate for over time.

  43. At all times relevant, Chesterton Firefighters worked hours in excess of the applicable

     overtime threshold under Section 7(k) of the Act and became entitled to receive one and

     one-half times their regular rates of pay for all such excess hours under the Act.

  44. Despite working overtime, Chesterton Firefighters were not paid time and one-half pay

     from Defendant for overtime worked.

  45. Defendant has, for more than nine (9) years, willingly, deliberately and intentionally

     refused to pay Chesterton Firefighters for time and one-half pay for overtime worked.

  46. During all relevant times, Defendant knew or should have known that Chesterton

     Firefighters were entitled to compensation of time and one-half overtime pay under the

     Act.



                                              6
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 7 of 14


  47. Additionally, Defendant had time records which documented the time and correct hours

     that Chesterton Firefighters worked. Nonetheless, Defendant ignored these time records.

  48. Defendant’s failure to properly compensate Chesterton Firefighters for all compensable

     hours was a willful and knowing violation of the Act.

  49. Defendant acted in reckless disregard as to whether it was in violation of the Act.

  50. Pursuant to 29 U.S.C. §§207, 216, Defendant owes Chesterton Firefighters compensation

     for the overtime work, an additional equal amount as liquidated damages, together with

     an additional sum for attorney’s fees and costs and all other just and proper relief.

                                          COUNT II:
                      Violation of I.C. § 36-8-22-11/I.C. § 36-8-22-11

  51. The foregoing paragraphs one through fifty are included as though fully set forth herein.

  52. Plaintiffs provided written notice to Defendant of their request to meet and confer

     pursuant to I.C. § 36-8-22-12(a) on November 27, 2018.

  53. Plaintiffs specifically requested a meet and confer with at least three of the five

     Chesterton Town Council members.

  54. Plaintiffs reiterated their request both in writing on December 10, 2018 and in person at

     the Chesterton Town Council meeting on December 10, 2018.

  55. Plaintiffs fully complied with I.C. § 36-8-22-12(a) and I.C. § 36-8-22-13(a) when they

     requested a meet and confer with their employer in writing.

  56. Defendant refused to meet and confer with the Plaintiffs in good faith.

  57. Defendant failed to comply with I.C. § 36-8-22-12(b) which requires that the employer “.

     . . meet and confer in good faith . . . to discuss issues and proposals regarding wages, hours

     of employment, and other conditions and terms of employment.”

  58. Defendant failed to comply with I.C. § 36-8-22-11 (5) when it refused to meet and confer

     in good faith with Plaintiffs.
                                               7
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 8 of 14


  59. Defendant’s wrongful conduct proximately caused injury and damage to Plaintiffs. As

      such, Defendant is liable to Plaintiffs for such damages suffered, in a reasonable amount

      to compensate them for their loss, including, but not limited to general and compensatory

      damages.

                                          COUNT III:
                                       Breach of Contract

  60. The foregoing paragraphs one through fifty-nine are included as though fully set forth

      herein.

  61. On or about December 26, 2018 the Union and Defendant entered into a written

      Agreement (hereinafter referred to as “the Agreement”) with an effective date of January

      1, 2019 through December 31, 2019. See Exhibit 4.

  62. Article VIII, Section 3(d), states, in pertinent part, that “. . . each firefighter working a 56

      hour week shall receive four (4) 24-hr shifts . . . to be scheduled according to department

      policy, for the effective period of this Agreement.”

  63. The department policy referenced in Article VIII, Section 3(d) that was in effect at the

      time of signing the Agreement indicated, inter alia, that the fire fighters could use their

      four (4) 24-hour shifts the same as they use their vacation time or on an “as needed” basis.

      See Exhibit 3.

  64. On January 2, 2019, one day after the effective date of the Agreement, the department

      policy was unilaterally changed to greatly inhibit and restrict the firefighters’ ability to

      use their four (4) 24-hour shifts. See Exhibit 5.

  65. The change in department policy constitutes a Breach of the Agreement.

  66. In breaching said Agreement, Defendant acted with malice, fraud, gross negligence,

      and/or oppressiveness.

  67. Defendant is liable for its own acts and the acts of its agents and/or representatives.
                                                 8
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 9 of 14


  68. The injustice suffered by the Plaintiffs can only be avoided by the enforcement of said

     Agreement and by deterrence of future actions by the Defendant of malice, fraud, gross

     negligence, and/or oppressiveness.

  69. Defendant’s wrongful conduct proximately caused injury and damage to the Plaintiffs. As

     such, Defendant is liable to Plaintiffs for such damages suffered, in a reasonable amount

     to compensate them for their loss, including, but not limited to general and compensatory

     damages.

                                        COUNT IV:
                                    Promissory Estoppel

  70. The foregoing paragraphs one through sixty-nine are included as though fully set forth

     herein.

  71. Defendant made promises to Plaintiffs.

  72. Specifically, Defendant promised Chesterton Firefighters four additional days or 96 hours

     to be used as vacation days or on an as needed basis as an additional incentive to the

     employment with Defendant.

  73. This promise was made to each Chesterton Firefighter when they agreed to be hired by

     Defendant.

  74. The same promise was made to the Union and Chesterton Firefighters when Defendant

     signed the 2019 Agreement.

  75. This promise by Defendant was made with the expectation that Plaintiffs would rely upon

     it to join the Chesterton Fire Department and to sign the 2019 Agreement.

  76. This promise did induce reasonable reliance by the Plaintiffs of a definite and substantial

     nature.




                                               9
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 10 of 14


   77. Namely, Chesterton Firefighters relied on the promise made by Defendant when they

      took employment with Defendant and the Union relied on the promise when it signed the

      2019 Agreement.

   78. Defendant acted with malice, fraud, gross negligence, and/or oppressiveness their

      aforementioned actions.

   79. Defendant is liable for its own acts and the acts of its agents and/or representatives.

   80. The injustice suffered by the Plaintiffs can only be avoided by the enforcement of said

      promises and by deterrence of future actions by the Defendant of malice, fraud, gross

      negligence, and/or oppressiveness.

   81. Defendant’s wrongful conduct proximately caused injury and damage to the Plaintiffs. As

      such, Defendant is liable to Plaintiffs for such damages suffered, in a reasonable amount

      to compensate them for their loss, including, but not limited to general and compensatory

      damages.

                                         COUNT V:
                               Fraud & Fraudulent Inducement

   82. The foregoing paragraphs one through eighty-one are included as though fully set forth

      herein.

   83. Defendant misrepresented material facts; namely, that the 2019 Agreement and

      department policy would remain the same as prior years with respect to the usage of the

      Chesterton Firefighters’ four (4) 24-hour shifts.

   84. The misrepresentations made by Defendant were false.

   85. Defendant made the misrepresentations knowing the statements were false or in reckless

      ignorance of the falsity of said statements.

   86. Defendant made these material misrepresentations with the intent to deceive Plaintiffs.

   87. Plaintiffs rightfully relied upon these representations to their detriment.
                                               10
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 11 of 14


   88. Specifically, Plaintiffs relied upon these misrepresentations when they signed the 2019

      Agreement.

   89. Plaintiffs were induced through the aforementioned fraudulent misrepresentations to

      enter into the 2019 Agreement.

   90. Defendant’s actions and misrepresentations in no way constituted a mistake of law or

      fact, honest error or judgment, overzealousness, mere negligence, or other such human

      failing.

   91. Defendant acted with malice, fraud, gross negligence, and/or oppressiveness their

      aforementioned actions.

   92. Defendant is liable for its own acts and the acts of its agents and/or representatives.

   93. The injustice suffered by the Plaintiffs can only be avoided by deterrence of future actions

      by the Defendant of malice, fraud, gross negligence, and/or oppressiveness

   94. Defendant’s wrongful conduct proximately caused injury and damage to the Plaintiffs. As

      such, Defendant is liable to Plaintiffs for such damages suffered, in a reasonable amount

      to compensate them for their loss, including, but not limited to general and compensatory

      damages.

                                          COUNT VI:
                                      Constructive Fraud

   95. The foregoing paragraphs one through ninety-four are included as though fully set forth

      herein

   96. As the employer of the Plaintiffs, Defendant has a dominant position over Plaintiffs.

   97. Defendant’s relationship with Plaintiffs constitutes a confidential and/or fiduciary

      relationship.

   98. Defendant’s aforementioned conduct and actions constitutes taking unconscionable

      advantage of Defendant’s dominant position over Plaintiffs.
                                               11
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 12 of 14


   99. Defendant is liable for its own acts and the acts of its agents and/or representatives.

   100.       The injustice suffered by the Plaintiffs can only be avoided by deterrence of future

      actions by the Defendant of malice, fraud, gross negligence, and/or oppressiveness

   101.       Defendant’s wrongful conduct proximately caused injury and damage to the

      Plaintiffs. As such, Defendant is liable to Plaintiffs for such damages suffered, in a

      reasonable amount to compensate them for their loss, including, but not limited to

      general and compensatory damages.



                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs seek judgment against Defendant as follows:

   1. Entry of judgment in favor of Plaintiffs against Defendant on all claims for relief and

      damages requested herein including, but not limited to the following;

   2. Award the Chesterton Firefighters compensatory damages and an equal amount of

      liquidated damages as provided under the law and 29 U.S.C. §216(b);

   3. Award the Chesterton Firefighters reasonable attorneys’ fees, costs, and expenses;

   4. Award the Plaintiffs any and all additional damages sought including, but not limited to

      compensatory damages, consequential damages, and general damages.

   5. Retain jurisdiction and maintain the status quo until this matter concludes; and

   6. Any and all additional relief as the interest of justice may require and that this Court may

      determine to be appropriate, just, and proper.




                                               12
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 13 of 14


                               DEMAND FOR TRIAL BY JURY

     Plaintiffs hereby demand trial by jury on all issues so triable.




                                                   /s/ Angela M. Jones_______
                                                   Angela M. Jones, #30770-45
                                                   Kevin C. Smith, #18169-45
                                                   Smith Sersic
                                                   9301 Calumet Avenue, Suite 1F
                                                   Munster, IN 46321
                                                   Phone: (219) 936-7600
                                                   Fax: (219) 836-2848
                                                   Email: ajones@smithsersic.com;
                                                   ksmith@smithsersic.com
                                                   Attorneys for Plaintiffs




                                              13
USDC IN/ND case 2:19-cv-00065-TLS-JPK document 1 filed 02/16/19 page 14 of 14



                                  CERTIFICATE OF SERVICE

I hereby certify that on February 16, 2019, I electronically filed the foregoing Pleading(s) with

the Clerk of the Court using the CM/ECF system which sent notification to all attorneys of record.

                                                     /s/ Angela M. Jones




                                               14
